Case 2:04-cr-20283-.]PI\/| Document 11 Filed 07/13/05 Page 1 of 2 Page|D 38

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clerk of court Fax wm OF m M-lzso
Jackaon 901-427-6585
ran 901-427-9210

DATE: July 13, 2005

NOTICE TO ALL PARTIES

RE: CRIMINAL CASE NO. 2:04cr20283
UNITED STATES OF AMERICA vs. Marion Albert Barahona

RULE 20 (Consent to Transfer of Case for Plea and
Sentence)

XX RULE 40 TRANSFER

Documents, Commitment & Warrant of Removal, Order of Detention, Waiver of
Rights, Minutes of Rule 40 proceedings, Exhibit & Witness List, Minutes of
Detention Hearing, Financial Affidavit, Minutes of court proceedings, Order
of temporary detention pending hearing, Minutes of out-of-district case,
Govt's notice of request for detention, Copy of warrant for arrest, Affidavit
of out-of-district warrant, Report commencing criminal action, as to the
above-named defendant, have been received from the United States District
Court, Central District of California, Western Division. Please refer to
document #10 in the case record.

Sincerely,

Thomas M. Gould,
Clerk of Court

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ccc Mag. Diane K. Vescovo
Casemanager

 
 

UNITED sTATE DRISTIC COURT - WESTERN D's'TRCT oFTENNEssEE

   

Notice of Distribution

This notice confirms a copy of the document docketed as number 11 in
case 2:04-CR-20283 Was distributed by faX, mail, or direct printing on
July ]3, 2005 to the parties listed.

 

 

Joseph C Murphy

U.S. ATTORNEY'S OFFICE
167 N. Main St.

Ste. 800

Memphis7 TN 38103

Honorable J on McCalla
US DISTRICT COURT

